      Case 2:12-cv-00713-MHT-SRW Document 36 Filed 01/20/15 Page 1 of 2



  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


AMTRUST INSURANCE COMPANY            )
OF KANSAS, INC.,                     )
                                     )
       Plaintiff,                    )
                                     )         CIVIL ACTION NO.
       v.                            )           2:12cv713-MHT
                                     )                (WO)
ENGINEERED TEXTILE                   )
PRODUCTS, INC., and                  )
SOUTHEASTERN CHEESE                  )
CORPORATION,                         )
                                     )
       Defendants.                   )

                                 JUDGMENT

      The court having been informed that this cause is

now settled, it is the ORDER, JUDGMENT, and DECREE of

the     court    that    this    lawsuit     is    dismissed      in      its

entirety with prejudice, with the parties to bear their

own costs and with leave to the parties, within 49

days, to stipulate to a different basis for dismissal

or to stipulate to the entry of judgment instead of

dismissal, and with leave to any party to file, within

49 days, a motion to have the dismissal set aside and
   Case 2:12-cv-00713-MHT-SRW Document 36 Filed 01/20/15 Page 2 of 2



the case reinstated or the settlement enforced, should

the settlement not be consummated.

    It is further ORDERED that all outstanding motions

are denied as moot.

    The clerk of the court is DIRECTED to enter this

document   on   the    civil      docket   as   a   final     judgment

pursuant   to   Rule   58    of   the   Federal     Rules    of   Civil

Procedure.

    This case is closed.

    DONE, this the 20th day of January, 2015.

                              /s/ Myron H. Thompson
                            UNITED STATES DISTRICT JUDGE
